Case 1:18-cr-20613-JEM Document 1 Entered on FLSD Docket 07/19/2018 Page 1 of 7

                                                                                           FILE:w   NF nc. .




                                                                                             JuI19,2018
                             UNITED STATES DISTRICT COURT
                                                                                           STN EN M LARIMORE
                   18 20613-
                        SOUTHERN
                         -
                                DI
                             C R-WSTIRI
                                      CTA
                                     LLIOFMFLORI
                                               DAR RES
                                            S/TO
                                                                                            CLERKtlb nis'
                                                                                                        r cT
                                                                                            s.n.OF/t%.-Mi> l.
                             CASE NO:
                                        18U.S.C.j842(p)(2)(A)
                                        18U.S.C.j2339B(a)(1)
                                        18U.S.C.j2339A(a)                                                       t

  UM TED STATES OF AM ERICA

  Y:.

  SAM UEL BAPTISTE,
     a/k/a GKhilafahlitic
     a/ka*AbdulJalilQamàidlmarahz'
     G aM ihadigeac rivatelc
                               Defesdant.
                                                  /


                                        INDIW M ENT
        n eGrand Jury charges:

                                          CO UNT 1
                                   Distributing Inform ation
                                   Pertaining to Explosives
                                   (1#u s-c.j84z(p)(2)(A))
        On or aboutNovember 6, 2016,in M imni-Dade County
                                                                  ,   in the Southern Disz ct of
 Floridaathedefendant,

                                   SAM UEL BAPTISTE,
                                    a/kaGn ilafahaitic
                             a/ka GAbdulJalilRashid Imarahl
                                aY aGlihadigeartprivatel'
did know ingly disG bute by any m eans inform ation pertaining to
                                                                      ,   in whole or in parq the
m anufactm e and use ofan explosive, des% ctive device
                                                      , and weapon ofm ass dest
                                                                              ruction  ,thatis,
a docum enttitled Glns% ctions:How to M ak
                                            e a Hom em ade Pipe Bom by''with the intentthatthe
inform ation be used for, and in furtherance of
                                               , an acti
                                                       vity that constimtes a Federal crim e of
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    violence,that is,using a weapon of mass destruction in violation of Title 18
                                                       ,                        , Uni
                                                                                    ted States
   Codt,Section 2332a(a);a1lin violation ofTitle 18, United StatesCode
                                                                                ,   Sections#42(p)(2)(A)
   and844(a)(2).

                                             CO UN T 2
                                      Distributing Inform ation
                                      Pertaining to Explosives
                                     (1#U.S.C.j842(p)(2)(A))
          On or about N ovem ber 6, 2016,in M iami-Dade Cotmty
                                                                        ,   in the Southem Districtof
   Floridw thedefendant,

                                      SAM UEL BAPTISTE,
                                     a/kaGn ilafahaitic
                               a/kaGAbdulJalilRaskidImaralc
                                  a/?aelihadigeartprivltell
  did knowingly distdbute by any means inf
                                                 orm ation pertaining to, in whole or in part the
                                                                                             ,
   m anufacture and use ofan explosive, des% ctivedevice
                                                           , and weapon ofmassdestruction, thatis,
  a docum ent titled Kpipe Bom bs,''with the intent that the information be us
                                                                                   ed for, and in
  furtherance of,an activity thatconstitutes a Fed
                                                   eralcrimeofviolence, thatis,using a weapon of
  massdes% ction,in violation ofTitle 18 U nited States Code
                                          ,
                                                           Section 2332#*;a11in violation
                                                                ,

  ofTitle 18,United StatesCode, Sections842(p)(2)(A)and844(a)(2)
                                                                        .



                                           COUNT 3
                                   D istributing lnform ation
                                   Pertaining to Explosives
                                   (18U.S.C.j842(p)(2)(A))
        ()n or aboutNovember 6, 2016,in M iami-Dade County
                                                                    ,   in tht Southern Districtof
 Floridw tlw defendant,

                                    SA M UEL BA PTISTE ,
                                     aY açén ilafahaitil
                             a/k/a GAbdulJalilRasbid Imarahc
                                 a/k/aN ihadigeartprivatelc


                                               2
Case 1:18-cr-20613-JEM Document 1 Entered on FLSD Docket 07/19/2018 Page 3 of 7




   did knowingly distribute by mzy means informatio
                                                     n pertaining to, in whole or in part, the
   manufactureand useofan explosive, destructive device and weapon ofm ass destruction
                                                                                      ,thatis,
                                                       ,

   adocumenttitled ulmprovised Explosive Devices''w1111the intentthatthe information be used
                                                    y

   for,and in furtherc ceof, an activity thatconstimttsaFederalcrime ofviolence
                                                                                        ,   thatis,usinga
   weapon ofm assdee lction, in violation ofTitle 18 United StatesCode
                                                    ,                 , Seclion2332*49al1in
  violation ofTitle 18, United StatesCode,
                                             Sections842(p)(2)(A)and844(a)(2)       .


                                           COUNT 4
                                    Distributing Inform ation
                                    Pertailing toExplosives
                                    (18U.S.C.j842(p)(2)(A))
         On or aboutNovember 6, 2016,in M iami-Dade Cotmty
                                                                   ,   in the Southem Disi ct of
  Floridw thedefendant,

                                     SA M UEL BAPTISTE,
                                     œ açlxhilafahaitil
                              a/k/aççAbdulJalilRasbid Im arah'
                                 a/k/aulihadigearerivatel,H
  did knowingly disd bute by any means inform ation pertaining to
                                                                       ,   in whole or in pmt the
 manufactureand useofan explosive, des% ctivedevice
                                                       , and weapon ofmassdes   % ction, thatis,
 a document titled Sçlmprovised Mlmltions Black B
                                                     ook,Volume 1,9%with the intent thatthe
 information lx used for, and in furtherance of
                                               , an activity thatconstitutes a Federalcrime of
 violence,that is,using a weam n of mass destruction,in violation of Title 18
                                                                                , United States
 Code,Section2332a(a);a11inviolation ofTitle 18, United StatesCode
                                                                            ,   Sections842(p)(2)(A)
 and844(a)(2).




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Case 1:18-cr-20613-JEM Document 1 Entered on FLSD Docket 07/19/2018 Page 4 of 7




                                           CO UNT 5
                                Attem pting to Provide M aterial
                           Supportto a Foreign TerroristO rga
                               (lsl                        nization
                                  amieStateofIraqandal-shaml
                                    (18U.S.C.j2339B(a)(1))
          On or aboutNovember 6, 2016,in M iami-Dade County
                                                                         ,   in the Southem Districtof
   Floridw thedefendam ,

                                     SAM UEL BAFH STE.
                                      a/kaGn ilafahaitic
                               a/k/aGAbdulJalilRashidImarahc
                                  a/k/aO ihadigeare rivatel;
  did knowingly attemptto provide âç
                                      materialsupportorresourcesy''asthatterm isdefined in Title
  18,United States Code,
                           Section 2339A(b),including services and m rsonnel,as alleged in
  Cotmts 1-4 oftlïislndictment, to a foreir terroristorganization
                                                                 .t
                                                                  hatis,thelslsmicStateofIraq
  and al-sham CISlS''),whichata11relevc ttim
                                                    es wasdesignated by the SeCRtaV ofState as a
  foreir terrorist organizmion pur
                                  mmntto Scction 219 ofthe lm miration and N
                                                                                       ationality Act
 Cm A''),knowing thatISIS wmsadesi> ated f
                                         oreir terroristorganization (asdesned in Title
 18,United States Code. Section 2339B(g)(6))
                                                ,   thatISIS engages and has engaged i
                                                                                     n terrorist
 activity(asdefnedinSection212(a)(3)(B)ofth
                                            eINAI,andthatISISengagesand bœqengaged
 interrorism (asdeGnedinSection 140(d)(2)ofthe Foreign RelationsAuthorizxti
                                                                                      on Act,Fiscal
 Years1988and 1989). in violation ofTitle l8, United StatesCode
                                                                   ,   Sections2339B(a)(1)and2   .

                                        COUNT 6      -

                             Attem pting to Provide M aterial
                                  Supportto Terrorists
                                  (18U.S.C.j2339A(a))
       On or about N ovem ber 6, 2016,in M iam i-Dade County
                                                            , i
                                                              n the Southm.
                                                                          n Die ct of
Floridw the defendant,

                                  SAM UEL BAPTISTE,
                                   a/k/aen ilafahaic

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 Case 1:18-cr-20613-JEM Document 1 Entered on FLSD Docket 07/19/2018 Page 5 of 7




                                  a/k/a GAbdulJalilRashid lmar
                                                              ahr''
                                      a/kaGlihadigearlprivatel'
    did knowinglyattemptto providetsmaterialsupportorreso
                                                           urcess''asthatterm isdefined in Title
    18,United StatesCode, Section2339A(b),
                                            includingservicesandperson
                                                                        nel,asalleged in Counts
    1-4 ofthisIndictment, knowing and intendingthatth
                                                     e materialsupportand resourceswere to be
   used in prepnmtion for and in
                                 canying outviolations ofTitle 18,United S
                                                                            tates Code,Section
   2332a(a)(uKe,withoutlawfulauthority, ofaweapon ofmassdes% ctio
                                                                     n),inviolationofTitle18
   Unhed StatesCode, Sections2339A4a)and2                                                     ,
                                                .



                                               A TRUE BILL




                                               FO   ER SON                         .
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        J
        4




K BENJAMIN G.o sx
  UNITED s A TES ATT         Ey




 M ARC S.ANTON
 ASSISTANT UNITED STATES ATTOR
                              NEY

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 M IC   L    KUR
 ASSISTANT UNITED STAW SAU ORN
                                          EY




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Case 1:18-cr-20613-JEM Document 1 Entered on FLSD Docket 07/19/2018 Page 6 of 7




                                 UNITED STATES DISTRICT CO U
                                 SOUTHERN DIST                 RT
                                               RIC T O F FLO RIDA
                                           PEN A LTY SHEET
     Defendant'sNam e: Sam
                           uelB aptlste.a/k/aççKhilafahaltiz'
                                     .
                                                             a/k/a GAbdulJalilR ashid
    Imarah' a/k/a Rlihadlee
                           arfprivatep'
    CaseNo:
    Counts#:1-4

   Distributina lnform ation P
                              ertainina to Explosives
                                                               --

   Title l8.United StatesCod
                                e.Section842fpb(2à(A)
   *M ax.Penalty:20 Y ears'l
                           m prisonm ent
  Count#:5

  Attemptinzto ProddeM att
                             rialSupoorttoaForeia T
                                                   erroristOrzanization
  Title 18. United StatesCode
                             . Section 2339B(a)(1à
  *M ax.Penalty:20 Years'l
                          mprisonm ent
 Count#:6

 AttemptingtoProvideM aterialSupporttoTerrorists
 Title 18. United States Code
                            .   Section 2339Ata)
 *M ax.Penalty:15 Years'lm prisonm ent

Cotmt#:




*M ax.Penalty:


*Refersonly to possibl
                      eterm ofincarceration does notinclude possibl
       spedalassessm entsyparole term s,or f
                                           .
                                            orfeltures th           e nnes,restitutiom
                                                         atm ay be appllcable.
Case 1:18-cr-20613-JEM Document 1 Entered on FLSD Docket 07/19/2018 Page 7 of 7
                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
  UNITED STATESOF AM ERICA
                                                  CASE NO.

                                                   CERTIFICATE O F TRIAL ATTO RNEY.
 SMa
 aAMUGEKh
        LF
         lla
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              hISR
 Wk1%GAbdulJa!G
             *l,IRalhid Ilparak''
 a/kaO ihadigeartpnva
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                         Defendanto
                                            l      Superseding Caselpform ation:
CourtDivision:(sel
                 xt()nel
                                                   New Defendantts)                  Yes           No
 2ï-- h4ianai
- -                    Ke W est
                                                   NumberofNew Defendants
        FTL               Mnïs        ,Tp          Totalnumberofcounts
        Ido hereby certify that;
               Ihave carefully considered theallegati
               ofprobablewitnessesandthelegalcompl  onexl
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                                                                                                    taants, the number
        2.
               I                                                                                        edhereto.
                am awarethattheinformation su   pplied op thisjtat e me  nt
               Courtjnsettingtheircalqndnm and schedullngcnminaltrialwi       llbe relied upon by the Judgesofthis
                                                                            sunderthe mnnd
               Act,Tltle28U.S.C.Sectlon 3161.                                                  ateofthe SpeedyTrial

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               List  negte
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                               dY/oersdMlrNo
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                                         al        Yes
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               Thiscase willtake        5     daysforthepartiesto try.
               Pleasecheck appropriate categoryand t
                                                    ype ofoffense listed below:
               tcheckonl
                       yone)
                                                                (Checkonlyone)
      l        0 to 5 days
      11       6 to 10 days                  X                  Pepy
      1II      ll to 20 days                                    M lnor
      IV       21to 60 days                                     M isdem .
      V        61daysand over                                  Felony                      U
      6.       Hasthiscasebeenprtviously fil
      Ifyes:                           edinthisDistrictCourt? @ esorNo)                    No
      Judge:                                  C
      (Attachcopypfdispositiveordel)           aseNo.
      Hasacomplalntbeenfiledinthlsmaler?      @ es
      lfyej:                                                 orNo)        No
      M apstrateCase No
      RelatedM iscellaneous
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      Defenda                    s:
            ntts)infederalcustodyasof 11/9/2016
      Defendantts)instjtecustodyasof
      Rule20 from theDlstrictof
      Isthisapotentialdeathpenaltycase?(YesorNo)                N
                                                                 o
              Dpesthiscaseoriginatefrom amatterpending intheNorthernRegionoftheU
              pnorto October14,2003?             Yes                      N                    S.Attomey'sOffice
                                                                                               .
                                                                           o X   .   -



             Doesthiscase originatefrom a matterpending in the CentralRegion oftheU
             PriortoSeptember1, 2007?     Yes                          X            .S.Attom ey's Offke



                                                       M ARC S.ANTON
                                                       ASSISTANT UNITED SYATESAU ORNEY
                                                       FL BarNo. 148369




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